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CLOSED

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

RAHMAN R. FULTON, Civil Action No. 18-16526 (SRC)

Petitioner,

UNITED STATES OF AMERICA,

v. ORDER
Respondent.

 

This matter having come before the Court on Petitioner Rahman R. Fulton’s motion
seeking leave to proceed in forma pauperis on appeal (ECF No. 17), the Court having considered
the motion, Petitioner having previously been found indigent in his underlying criminal
proceedings, and Petitioner having therefore established his entitlement to proceed in forma
pauperis on appeal pursuant to Federal Rule of Appellate Procedure 24(a)(3),

IT IS on this B 0 Evy of February, 2020,

ORDERED that the Clerk of the Court shall reopen this matter for the purposes of this
order only; and it is further

ORDERED that Petitioner’s motion seeking leave to proceed in forma pauperis on appeal
(ECF No, 17) is GRANTED, and it is further

ORDERED that the Clerk of the Court shall serve a copy of this order upon Petitioner by

regular mail, and shall CLOSE the file.

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Hon. Stanléy KX. Cliésler,
United States District Judge

 
